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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                    )
                                                             )                8:12CR70
                          Plaintiff,                         )
                                                             )
        vs.                                                  )                 ORDER
                                                             )
GUILLERMO MONARREZ,                                          )
                                                             )
                          Defendant.                         )


        This matter is before the court on the motion for an extension of time by defendant Guillermo Monarrez
(Monarrez) (Filing No. 140). Monarrez seeks until July 23, 2012, in which to file pretrial motions in accordance
with the progression order. Monarrez has filed an affidavit wherein he consents to the motion and acknowledges
he understands the additional time may be excludable time for the purposes of the Speedy Trial Act (Filing No.
144). Upon consideration, the motion will be granted


        IT IS ORDERED:
        Defendant Monarrez's motion for an extension of time (Filing No. 140) is granted. Monarrez is given
until on or before July 23, 2012, in which to file pretrial motions pursuant to the progression order. The ends
of justice have been served by granting such motion and outweigh the interests of the public and the defendant
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time between

June 29, 2012, and July 23, 2012, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


        DATED this 29th day of June, 2012.
                                                             BY THE COURT:
                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
